                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-4 Filed 11/06/20 Page 1 of 16
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                                                                                                                                                                              Steven D. Grierson
                                                                                                                                                                              CLERK OF THE COURT

                                                                                           1   MDSM
                                                                                               SUZANNE L. MARTIN
                                                                                           2   Nevada Bar No. 8833
                                                                                               suzanne.martin@ogletreedeakins.com
                                                                                           3
                                                                                               ERICA J. CHEE
                                                                                           4   Nevada Bar No. 12238
                                                                                               erica.chee@ogletreedeakins.com
                                                                                           5   OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
                                                                                               Wells Fargo Tower, Suite 1500
                                                                                           6   3800 Howard Hughes Parkway
                                                                                               Las Vegas, NV 89169
                                                                                           7
                                                                                               Telephone: 702.369.6800
                                                                                           8   Fax: 702.369.6888

                                                                                           9   Attorneys for Defendant
                                                                                               TopGolf USA Las Vegas, LLC
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                          10

                                                                                          11                                 EIGHTH JUDICIAL DISTRICT COURT

                                                                                          12                                          CLARK COUNTY, NEVADA
                                                 Suite 1500, 3800 Howard Hughes Parkway




                                                                                          13   CIARA WILLIAMS,                                              Case No.: A-18-784031-C
                                                         Telephone: 702.369.6800
                                                           Las Vegas, NV 89169
                                                            Wells Fargo Tower




                                                                                                                                                            Dept. No.: IV
                                                                                          14                            Plaintiff,
                                                                                          15   vs.                                                            DEFENDANT TOPGOLF USA LAS
                                                                                          16                                                                 VEGAS, LLC’S MOTION TO DISMISS
                                                                                               SILVINO HINOJOSA, AND TOPGOLF USA                                 PLAINTIFF’S AMENDED
                                                                                          17   LAS VEGAS, LLC, DOES 1 through X,                                      COMPLAINT
                                                                                               inclusive AND ROES through X, inclusive,
                                                                                          18
                                                                                                                        Defendants.
                                                                                          19

                                                                                          20

                                                                                          21             Defendant TopGolf USA Las Vegas, LLC (“TopGolf” or “Defendant”), by and through its
                                                                                          22   counsel, Ogletree, Deakins, Nash, Smoak & Stewart, P.C., moves to dismiss Plaintiff Ciara
                                                                                          23   Williams’ (“Plaintiff”) Amended Complaint, and for an order dismissing each of the claims for
                                                                                          24   relief for failure to state a claim:
                                                                                          25            First Cause of Action for Assault
                                                                                          26            Second Cause of Action for Battery
                                                                                          27            Third Cause of Action for False Imprisonment
                                                                                          28            Fourth Cause of Action for Gross Negligence

                                                                                                                                                        1

                                                                                                                                      Case Number: A-18-784031-C
                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-4 Filed 11/06/20 Page 2 of 16




                                                                                           1         Fifth Cause of Action for Negligent Supervision and Retention

                                                                                           2         Sixth Cause of Action for Negligent Infliction of Emotional Distress

                                                                                           3         Seventh Cause of Action for Intentional Infliction of Emotional Distress

                                                                                           4          This Motion is based on Nevada Rule of Civil Procedure 12(b)(5) and 41(b), the following

                                                                                           5   Memorandum of Points and Authorities, the records, pleadings and papers on file herein, and any

                                                                                           6   oral argument this Court deems appropriate.

                                                                                           7          DATED this 28th day of March 2019.

                                                                                           8                                       OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
                                                                                           9
                                                                                                                                    /s/ Suzanne L. Martin
                                                                                          10                                       Suzanne L. Martin
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                                                                   Nevada Bar No. 8833
                                                                                          11
                                                                                                                                   Erica J. Chee
                                                                                          12                                       Nevada Bar No. 12238
                                                                                                                                   3800 Howard Hughes Parkway
                                                 Suite 1500, 3800 Howard Hughes Parkway




                                                                                          13                                       Suite 1500
                                                         Telephone: 702.369.6800




                                                                                                                                   Las Vegas, NV 89169
                                                           Las Vegas, NV 89169
                                                            Wells Fargo Tower




                                                                                          14                                       Attorneys for Defendant TopGolf USA Las Vegas, LLC
                                                                                          15
                                                                                                                                  NOTICE OF MOTION
                                                                                          16
                                                                                                      PLEASE TAKE NOTICE that the undersigned counsel will bring DEFENDANT
                                                                                          17
                                                                                               TOPGOLF USA LAS VEGAS, LLC’S MOTION TO DISMISS PLAINTIFF’S AMENDED
                                                                                          18
                                                                                               COMPLAINT on for hearing before Department IV of this Court on the _____ day of
                                                                                          19
                                                                                               ____________________, 2019, at the hour of ______ a.m./p.m., or as soon thereafter as the matter
                                                                                          20
                                                                                               may be heard.
                                                                                          21
                                                                                                      DATED this 28th day of March, 2019.
                                                                                          22
                                                                                                                                   OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
                                                                                          23
                                                                                                                                    /s/ Suzanne L. Martin
                                                                                          24                                       Suzanne L. Martin
                                                                                                                                   Nevada Bar No. 8833
                                                                                          25
                                                                                                                                   Erica J. Chee
                                                                                          26                                       Nevada Bar No. 12238
                                                                                                                                   3800 Howard Hughes Parkway
                                                                                          27                                       Suite 1500
                                                                                                                                   Las Vegas, NV 89169
                                                                                          28                                       Attorneys for Defendant TopGolf USA Las Vegas, LLC

                                                                                                                                               2
                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-4 Filed 11/06/20 Page 3 of 16




                                                                                           1                        MEMORANDUM OF POINTS AND AUTHORITIES

                                                                                           2   I.     INTRODUCTION

                                                                                           3          The alleged facts supporting the employment tort claims contained in Plaintiff’s lawsuit are

                                                                                           4   salacious. They tell a compelling story about a woman who was allegedly sexually assaulted by

                                                                                           5   her supervisor at work.    When presented with similar facts in similar cases, Nevada courts have

                                                                                           6   consistently dismissed the plaintiff’s claims, recognizing that as a matter of law, such claims are

                                                                                           7   precluded by the exclusive remedies provision of Nevada’s Industrial Insurance Act, NRS

                                                                                           8   616A.005, et seq. and NRS 41.745. See also, Wood v. Safeway, Inc., 121 Nev. 724, 121 P.3d 1026,

                                                                                           9   1034 (Nev. 2005).     For the same reasons, dismissal of Plaintiff’s claims against TopGolf is

                                                                                          10   compelled here.
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                                                                                          11          Plaintiff’s Amended Complaint (“Amended Complaint”) sets forth the following claims

                                                                                          12   against her former employer, TopGolf: (1) Assault; (2) Battery; (3) False Imprisonment; (4) Gross
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                                                                                          13   Negligence; (5) Negligent Supervision and Retention; (6) Negligent Infliction of Emotional
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                                                                                          14   Distress; and (7) Intentional Infliction of Emotional Distress.1

                                                                                          15          Each and every one of Plaintiff’s tort claims against her employer, TopGolf, are based on

                                                                                          16   alleged interactions between Plaintiff and Silvino Hinojosa (“Hinojosa”), her supervisor, while the

                                                                                          17   two were on duty at work, and which Plaintiff specifically alleges arose out of and in the course of

                                                                                          18   employment. Just like Wood, Plaintiff’s claims are subject to dismissal.

                                                                                          19          Plaintiff’s gross negligence and negligent hiring and retention claims are subject to

                                                                                          20   dismissal for another reason. These claims are employment discrimination claims, namely, sex

                                                                                          21   discrimination and harassment claims, for which statutory remedies already exist. Indeed, more

                                                                                          22   than 50 years ago, the federal and state legislatures carved out statutory protections and relief for

                                                                                          23   sexual discrimination and harassment in the employment context under NRS. 613.330 et. al. and

                                                                                          24   Title VII of the 1964 Civil Rights Act (“Title VII”). When a plaintiff is attempting to pursue in tort

                                                                                          25   what are on their face statutory employment claims, the tort claims must be dismissed. See Lund v.

                                                                                          26
                                                                                          27
                                                                                               1 Plaintiff did not make any claims against TopGolf for sexual harassment, sex discrimination, or
                                                                                          28   retaliation under Title VII or Nevada law.


                                                                                                                                                 3
                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-4 Filed 11/06/20 Page 4 of 16




                                                                                           1   J.C. Penney Outlet, 911 F. Supp. 442, 445 (D. Nev. 1996) (holding that employment

                                                                                           2   discrimination does not constitute a tort in Nevada). Notably, Plaintiff has not pursued state or

                                                                                           3   federal employment discrimination claims against TopGolf, and by now, the time period within

                                                                                           4   which she must do so has expired.2 In short, through the tort claims, Plaintiff is attempting an end-

                                                                                           5   run around her failure to follow the established statutory procedures she was required to satisfy to

                                                                                           6   pursue her employment discrimination claims. This, the Court cannot condone.

                                                                                           7           For these reasons, and as discussed more fully herein, TopGolf respectfully requests the

                                                                                           8   Court dismiss Plaintiff’s Amended Complaint in its entirety against it.

                                                                                           9   II.     STATEMENT OF FACTS RELEVANT TO THIS MOTION3

                                                                                          10           TopGolf hired Plaintiff in April 2016 as a line cook. (Amended Complaint (“Compl.”), ¶
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                                                                                          11   8.)   Hinojosa, her direct supervisor, allegedly subjected Plaintiff to daily sexual harassment,

                                                                                          12   including vulgar comments, inappropriate touching, and offensive text messages. (Compl., ¶¶ 9 -
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                                                                                          13   13.) Plaintiff claims that she complained to other TopGolf managers that she was being sexually
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                                                                                          14   harassed, and they allegedly told her to get used to it or ignored her complaint. (Compl., ¶¶ 14,

                                                                                          15   15.) She also claims to have reported harassment and assault to human resources, but they never

                                                                                          16   investigated her complaint or issued her copies of any report. (Compl., ¶ 16.) According to

                                                                                          17   Plaintiff, TopGolf allegedly knew that Hinojosa was a “predator”, because he had “sexually

                                                                                          18   abused” at least four other women working in the kitchen while Plaintiff worked at TopGolf.

                                                                                          19   (Compl., ¶ 17.)

                                                                                          20

                                                                                          21

                                                                                          22
                                                                                               2Plaintiff resigned from TopGolf and her last day of employment was April 10, 2018. In order to
                                                                                          23   exhaust her administrative remedies, Plaintiff was required to file a charge with the Equal
                                                                                               Employment Opportunity Commission (“EEOC”) within 180 days of the last act of alleged
                                                                                          24   discrimination, in this case her last day of employment. If Plaintiff dual-filed a charge with the
                                                                                               Nevada Equal Rights Commission (“NERC”), she would have had 300 days to file a charge. Her
                                                                                          25
                                                                                               deadline to file a charge with the EEOC was October 7, 2018, and her 300-day deadline to dual-file
                                                                                          26   with NERC was February 4, 2019.

                                                                                          27   3 For purposes of this Motion only, TopGolf acknowledges that all factual allegations contained in
                                                                                               the Amended Complaint can be regarded as true, even though TopGolf neither admits nor denies
                                                                                          28   same.


                                                                                                                                                4
                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-4 Filed 11/06/20 Page 5 of 16




                                                                                           1            Plaintiff alleges that in May 2017, Hinojosa’s conduct was exacerbated when he pushed her

                                                                                           2   against a wall in the walk-in freezer, groped her, and sexually assaulted her. (Compl., ¶¶ 19 – 24.)

                                                                                           3   When she was finally able to leave the freezer, she attempted to leave the premise when another

                                                                                           4   employee asked her what happened. (Compl. ¶¶ 25-26.) The employee then escorted her to

                                                                                           5   human resources where Plaintiff described the incident to the human resources manager, her co-

                                                                                           6   worker, and a manager. (Compl. ¶¶ 27-28.) She was allegedly advised to not report anything to

                                                                                           7   the police and human resources would take care of everything. (Compl., ¶ 28.)

                                                                                           8            Plaintiff took some time off work after the May 2017 incident and when she returned to

                                                                                           9   TopGolf, she was told “everything had been taken care of.” (Compl., ¶¶ 31-32.) Admittedly,

                                                                                          10   Plaintiff did not hear from Hinojosa or encounter Hinojosa for months until he became the “boss of
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                                                                                          11   the entire kitchen” and was placed on the same shift as her in November 2017. (Compl. ¶¶ 30-36.)

                                                                                          12   Plaintiff alleges that Hinojosa continued his campaign of harassment when they began to work
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                                                                                          13   together again. (Id.) Finally, in April 2018, Plaintiff found other employment and submitted her
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                                                                                          14   letter of resignation to TopGolf. (Compl. ¶ 38.)

                                                                                          15            On November 5, 2018, Plaintiff filed this lawsuit against Hinojosa and TopGolf

                                                                                          16   (collectively referred to as “Defendants”) asserting 10 causes of action, including unlawful

                                                                                          17   discriminatory employment practices. However, prior to filing this lawsuit, or serving TopGolf

                                                                                          18   with a summons and complaint, Plaintiff did not file a charge of discrimination with the EEOC nor

                                                                                          19   the NERC.

                                                                                          20         On January 7, 2019, Plaintiff filed her Amended Complaint alleging seven causes of action

                                                                                          21   against Defendants and removing, among others, the cause of action for employment

                                                                                          22   discrimination. Yet, all of the allegations in Plaintiff’s Amended Complaint stem from her

                                                                                          23   employment at TopGolf.

                                                                                          24            On February 22, 2019, Hinojosa filed an Answer and Counterclaim against Plaintiff. It was

                                                                                          25   only after Hinojosa was served and appeared for this matter that Plaintiff served TopGolf’s

                                                                                          26   registered agent for service with the Summons and Amended Complaint on March 8, 2019.

                                                                                          27   ...

                                                                                          28   ...


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                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-4 Filed 11/06/20 Page 6 of 16




                                                                                           1   III.    STANDARD OF REVIEW

                                                                                           2           Nevada Rule of Civil Procedure (“NRCP”) 12(b)(5) authorizes the Court to dismiss a

                                                                                           3   complaint for failure to “state a claim upon which relief can be granted.” For purposes of a motion

                                                                                           4   to dismiss pursuant to Rule 12(b)(5), the “court accepts the plaintiff[‘s] factual allegations as true,

                                                                                           5   but the allegations must be legally sufficient to constitute the elements of the claim asserted.” See

                                                                                           6   Sanchez v. Wal-Mart, 125 Nev. 818, 823, 221 P.3d 1276, 1280 (2009); see also, e.g., Simpson v.

                                                                                           7   Mars Inc., 113 Nev. 188, 929 P.2d 966 (1997) (affirming dismissal on the pleadings of all but one

                                                                                           8   of plaintiff’s claims against defendant employer). The sole issue is whether the allegations set

                                                                                           9   forth a valid claim for relief. Vacation Village, Inc. v. Hitachi Am., Ltd., 110 Nev. 481, 484, 874

                                                                                          10   P.2d 744, 746 (1994). A claim is not valid if it rests on legal or factual conclusions that fail to give
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                                                                                          11   “fair notice of the nature and basis of the claim.” Crucil v. Carson City, 95 Nev. 583, 585, 600

                                                                                          12   P.2d 216, 217 (1979) (citing Taylor v. State, 73 Nev. 151, 153, 311 P.2d 733, 743 (1957)).
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                                                                                          13   Dismissal is proper where the allegations are insufficient to establish the elements of a claim for
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                                                                                               relief. Stockmeier v. Nevada Dep’t of Corrections, 124 Nev. 313, 183 P.3d 133, 135 (2008)
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                                                                                          14

                                                                                          15   (citations omitted).

                                                                                          16           If, as a matter of law, the claimant fails to state a cognizable claim for relief, the motion

                                                                                          17   should be granted and the claim dismissed. See Morris v. Bank of Am. Nev., 110 Nev. 1274, 1276-

                                                                                          18   77, 886 P.2d 454, 456 (1994). Under this standard, as demonstrated below, all of Plaintiff’s claims

                                                                                          19   fail as a matter of law.

                                                                                          20   IV.     LEGAL ARGUMENT

                                                                                          21           A.      Plaintiff’s Common Law Tort Claims Are Entirely Precluded By The Nevada
                                                                                                               Industrial Insurance Act
                                                                                          22

                                                                                          23           Plaintiff's tort claims against TopGolf fail as a matter of law because those claims are
                                                                                          24   preempted by the Nevada Industrial Insurance Act ("NIIA", NRS 616A – NRS 616D). "The NIIA
                                                                                          25   provides the exclusive remedy for employees injured on the job, and an employer is immune from
                                                                                          26   suit by an employee for injuries arising out of and in the course of the employment." Wood, 121
                                                                                          27   P.3d at 1031 (quotation omitted). The NIIA's exclusive remedy provision states: "[t]he rights and
                                                                                          28   remedies provided in chapters 616A to 616D, inclusive, of NRS for an employee on account of an


                                                                                                                                                  6
                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-4 Filed 11/06/20 Page 7 of 16




                                                                                           1   injury by accident sustained arising out of and in the course of the employment shall be exclusive .

                                                                                           2   . . ." NRS § 616A.020(1). An injury is defined as "a sudden and tangible happening of a traumatic

                                                                                           3   nature, producing an immediate or prompt result which is established by medical evidence." Id. §

                                                                                           4   616A.265(1).

                                                                                           5          To fall within the NIIA's coverage, an injury must "both arise out of the employment and

                                                                                           6   occur within the course of that employment." Wood, 121 P.3d at 1032. An injury arises out of the

                                                                                           7   employment if a causal connection exists between the injury and "the nature of the work or

                                                                                           8   workplace." Id. An injury occurs within the course of the employment if it occurs "at work,

                                                                                           9   during working hours, and while the employee is reasonably performing his or her duties." Id.

                                                                                          10          Claims based on allegedly devastating incidents that took place at work, seeking damages
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                                                                                          11   for assault; battery; negligent hiring, training, and supervision; gross negligence; negligent and

                                                                                          12   intentional infliction of emotional distress – similar to the claims and alarming facts alleged by
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                                                                                          13   Plaintiff here – have consistently been dismissed by Nevada’s courts because they are preempted
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                                                                                          14   by the NIIA. See, e.g., Conway v. Circus Circus Casinos, Inc., 116 Nev. 870, 874-75, 8 P.3d 837,

                                                                                          15   840 (2000) (claims for battery, intentional and negligent infliction of physical and emotional harm

                                                                                          16   and distress, and failure to advise of dangerous conditions against employer by employees exposed

                                                                                          17   to noxious fumes causing injury were barred because NIIA provides exclusive remedy for

                                                                                          18   employees injured at work); Cummings v. United Resort Hotels, Inc., 85 Nev. 23, 25-26, 449 P.2d

                                                                                          19   245, 247-48 (1969) (finding NIIA applicable to an assault by a co-worker while the employee was

                                                                                          20   preparing for work and holding that employer was therefore relieved of liability); Kennecott

                                                                                          21   Copper Corp. v. Reyes, 75 Nev. 212, 214-16, 337 P.2d 624, 625-27 (1959) (employer not liable for

                                                                                          22   death of employee even though employer was aware of dangerous condition which caused death

                                                                                          23   and did nothing to warn employee of harm or prevent dangerous condition because NIIA provides

                                                                                          24   exclusive remedy); King v. Penrod, 652 F. Supp. 1331, 1333 (D. Nev. 1987) (employer’s willful

                                                                                          25   refusal to provide emergency medical care or transportation to healthcare facility after the plaintiff-

                                                                                          26   employee sustained serious injuries at work did not render the employee’s injury beyond the

                                                                                          27   coverage of the NIIA).

                                                                                          28


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                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-4 Filed 11/06/20 Page 8 of 16




                                                                                           1          Significantly, in Wood, the Supreme Court of Nevada was confronted with appalling facts

                                                                                           2   of a mentally disabled woman who was repeatedly sexually assaulted at work, and upheld

                                                                                           3   summary judgment of the plaintiff’s tort claims in favor of employer on the grounds that

                                                                                           4   employee’s injuries from the assault were subject to the exclusive remedied provisions of the

                                                                                           5   NIIA. Id. at 1031, 1034. The Nevada Supreme Court thoroughly analyzed the NIIA's preclusive

                                                                                           6   effect on an employee's claims of negligent hiring, training, and supervision, sexual harassment,

                                                                                           7   and negligent infliction of emotional distress against her employer, and, ultimately, adopted the

                                                                                           8   rule that the sexual assault or harassment of an employee in the workplace "falls within the NIIA if

                                                                                           9   the nature of the employment contributed to or otherwise increased the risk of assault beyond that

                                                                                          10   of the general public." Id., 121 Nev. at 736 (citing Doe v. South Carolina State Hosp., 285 S.C.
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                                                                                          11   183, 328 S.E.2d 652, 655 (S.C. Ct. App. 1985); Cummings, 85 Nev. at 23, 27, 449 P.2d 245; and

                                                                                          12   McColl v. Scherer, 73 Nev. 226, 230, 315 P.2d 807 (1957)). "That same assault is not within the
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                                                                                          13   NIIA, however, when 'the animosity of the dispute which culminates in the assault is imported into
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                                                           Las Vegas, NV 89169




                                                                                               the place of employment from the injured employee's private or domestic life, … at least where the
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                                                                                          14

                                                                                          15   animosity is not exacerbated by the employment.'" Wood, 121 Nev. at 736 (citing McColl, 73 Nev.

                                                                                          16   at 230).

                                                                                          17          The Second Judicial District Court of Nevada recently faced similarly challenging facts in

                                                                                          18   Flint v. Franktown Meadows, Inc., 2017 Nev. Dist. LEXIS 2010 (Nev. Aug. 18, 2017), and

                                                                                          19   dismissed the plaintiff’s complaint because her common law tort claims – negligence, negligent

                                                                                          20   hiring, negligent training, supervision, and retention, assault, battery, negligent infliction of

                                                                                          21   emotional distress, intentional infliction of emotional distress – were precluded by the NIIA. In

                                                                                          22   Flint, the plaintiff was routinely harassed at work and asked out by her co-worker, and over time,

                                                                                          23   the co-worker became increasingly physically aggressive with her. Id. at *2. The co-worker

                                                                                          24   would corner her in horse stalls, pull her close to his body, and in one situation, he picked her up

                                                                                          25   off the ground and touched her breast. Id. Plaintiff reported the incident, but her employer

                                                                                          26   allegedly failed to take any corrective action. Id. She subsequently resigned alleging that she had

                                                                                          27   no other option. Id. at *3. As disturbing as the alleged facts were, the Court found that her injuries

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                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-4 Filed 11/06/20 Page 9 of 16




                                                                                           1   arose out of the course and scope of her employment, that NIIA was the exclusive remedy, and

                                                                                           2   dismissed her entire complaint under NRCP 12(b)(5). Id. at *7-8.

                                                                                           3          Here, Plaintiff specifically alleges that a TopGolf employee, Hinojosa, harassed, touched,

                                                                                           4   groped and assaulted her at work during regular business hours, and further that Hinojosa groped

                                                                                           5   her at a holiday party sponsored by TopGolf. Like the plaintiff in Wood and Flint, the only contact

                                                                                           6   Plaintiff had with Hinojosa was a result of her employment with TopGolf. As in Wood and Flint,

                                                                                           7   Plaintiff would not have been allegedly sexually harassed but for her employment with TopGolf

                                                                                           8   and she faced a much greater risk of assault than that of the general public because of her

                                                                                           9   employment. She worked in the kitchen with Hinojosa, and neither of them worked in a space

                                                                                          10   normally occupied by the public. There are also no allegations of personal animosity between the
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                                                                                          11   two that carried over from their private lives. In fact, Plaintiff alleges that from May to November

                                                                                          12   2017, she did not hear from or encounter him at all until they began working the same shift again.
                                                 Suite 1500, 3800 Howard Hughes Parkway




                                                                                          13   (Compl. ¶¶ 30, 34.) Therefore, Plaintiff's alleged damages resulting from the assault, battery, false
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                                                                                          14   imprisonment, gross negligence, negligent hiring and retention, and negligent and intentional

                                                                                          15   infliction of emotional distress are injuries which "arose out of and during the course of her

                                                                                          16   employment" and are barred by NIIA under Wood.

                                                                                          17          Decades of Nevada Supreme Court precedent instruct that under the circumstances, albeit

                                                                                          18   astonishing as they are alleged, Plaintiff’s injuries are subject to the exclusive remedies provisions

                                                                                          19   of the NIIA, and her claims against TopGolf are legally barred. The claims against TopGolf must

                                                                                          20   therefore be dismissed. See Wood, 121 P.3d at 1034.

                                                                                          21          B.      TopGolf Is Not Liable For Hinojosa’s Conduct

                                                                                          22          Assuming arguendo that Plaintiff’s tort claims are not barred by NIIA, TopGolf cannot be

                                                                                          23   liable under an intentional tort theory for Hinojosa’s conduct because it was an independent act

                                                                                          24   that was not reasonably foreseeable. Pursuant to NRS 41.745, an employer is not liable for the

                                                                                          25   intentional acts of its employees so long as the conduct of the employee:

                                                                                          26          (a) Was a truly independent venture of the employee;
                                                                                                      (b) Was not committed in the course of the very task assigned to the employee; and
                                                                                          27          (c) Was not reasonably foreseeable under the facts and circumstances of the case
                                                                                                      considering the nature and scope of his employment. . . . conduct of an employee is
                                                                                          28


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                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-4 Filed 11/06/20 Page 10 of 16




                                                                                           1          reasonably foreseeable if a person of ordinary intelligence and prudence could have
                                                                                                      reasonably anticipated the conduct and the probability of injury.
                                                                                           2

                                                                                           3   Wood, 121 P.3d at 1034. The intervening superseding act doctrine also hinges on whether the

                                                                                           4   tortious conduct was reasonably foreseeable. Id. at 1037.

                                                                                           5          With respect to Hinojosa’s history and the reasonable foreseeability of his alleged conduct,

                                                                                           6   Plaintiff makes two conclusory allegations: one characterizing Hinojosa as a “serial sexual

                                                                                           7   predator,” (Compl., ¶ 9), and a second accusing him of harassing other women (Compl., ¶ 17). The

                                                                                           8   Amended Complaint is otherwise devoid of facts that substantiate these threadbare assertions.

                                                                                           9   Indeed, Plaintiff does not even allege that she believed Hinojosa’s conduct was reasonably

                                                                                          10   foreseeable. No liability lies against TopGolf for Hinojosa’s alleged intentional conduct on these
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                                                                                          11   scant, transparently self-serving, and otherwise factually baseless allegations.

                                                                                          12          Like the assailant in Wood, Hinojosa’s alleged harassment and assault of Plaintiff
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                                                                                          13   constituted an independent venture that fell beyond the tasks assigned to him as a kitchen manager
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                                                                                          14   or Sous Chef. See Prell Hotel Corp. v. Antonacci, 86 Nev. 390, 392, 469 P.2d 399 (1970).

                                                                                          15   Hinojosa jeopardized himself professionally and personally by creating liability for himself and his

                                                                                          16   employer. Hinojosa’s alleged assault was an intervening and superseding act that “in and of itself

                                                                                          17   was the ‘natural and logical cause’” of Plaintiff’s injuries. Wood, 121 P.3d at 1037 (citing Thomas

                                                                                          18   v. Bokelman, 86 Nev. 10, 13, 462 P.2d 1020, 1022 (1970), Vallery v. State, 118 Nev. 357, 46 P.3d

                                                                                          19   66, 78 (2002).) The assault and battery claims must be dismissed.

                                                                                          20          C.      Alleged Discrimination And Harassment Do Not Give Rise To Negligence
                                                                                                              Claims, And Are Pre-Empted By Nevada And Federal Employment
                                                                                          21                  Discrimination Laws

                                                                                          22          Plaintiff's negligence claims are subject to dismissal because they are entirely based on her
                                                                                          23   allegations of unlawful discrimination. See Compl. ¶¶ 58 – 60 (Gross Negligence); and ¶¶ 64 – 67
                                                                                          24   (Negligent Supervision and Retention). When such claims are premised upon alleged
                                                                                          25   discrimination as they are here, those claims are preempted by the comprehensive statutory scheme
                                                                                          26   set forth in Nevada’s Employment Practices statute, NRS 613.010 et seq.
                                                                                          27          The Nevada Supreme Court has repeatedly refused to recognize common law tort claims
                                                                                          28   based on discrimination prohibited by Nevada's statute. Chavez v. Sievers, 118 Nev. 288, 291, 43


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                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-4 Filed 11/06/20 Page 11 of 16




                                                                                           1   P. 3d. 1022, 1024 (2002) (refusing to recognize a common law tort action based upon alleged

                                                                                           2   racial discrimination); Sands Regent v. Valgardson, 105 Nev. 436, 439-440 (1989); Shoen v.

                                                                                           3   Amerco, 111 Nev. 735, 744, 896 P.2d 469, 475 (1995) (declining to allow a tort claim "based on

                                                                                           4   the fact that a comprehensive statutory remedy exists"). Plaintiff's attempt to repackage her

                                                                                           5   employment discrimination claim as a tort claim for negligence is impermissible under Nevada

                                                                                           6   law.

                                                                                           7          In Valgardson, the Nevada Supreme Court first ruled that an employee could not maintain

                                                                                           8   separate tort claims premised on discriminatory conduct that was subject to the comprehensive

                                                                                           9   statutory remedies provided by NRS § 613.330, et seq. Specifically, the Valgardson court held

                                                                                          10   that a plaintiff claiming he was wrongfully terminated due to his age could not maintain a tort
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                                                                                          11   claim for wrongful termination in violation of public policy in light of the remedial scheme set

                                                                                          12   forth in Nevada’s employment discrimination statutes. Id. at 440.
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                                                                                          13          The Nevada Supreme Court subsequently clarified and strengthened this holding in
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                                                                                               D’Angelo v. Gardner, 107 Nev. 704 (1991), explicitly confirming that the statutory scheme set
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                                                                                          15   forth in NRS 613.310 et seq. was the sole remedy available for claims of discrimination, displacing

                                                                                          16   potentially overlapping common law torts. Id. at 710 n.10. In other words, since there is an

                                                                                          17   adequate statutory remedy for unlawful discrimination and harassment, Nevada courts will not

                                                                                          18   permit a plaintiff to recover in tort for the same claims.

                                                                                          19          The U.S. District Court for the District of Nevada has applied the same rationale and

                                                                                          20   dismissed state tort claims when such claims were premised upon discriminatory conduct covered

                                                                                          21   by state or federal statutes with adequate remedies. See Lund, 911 F. Supp. 44 (the court dismissed

                                                                                          22   the plaintiff’s public policy wrongful discharge claim concluding a statutory remedy existed under

                                                                                          23   federal law in the Americans with Disabilities Act.); Westbrook v. DTG Operations, Inc., 2007

                                                                                          24   U.S. Dist. LEXIS 14653, at *19 (D. Nev. Feb. 28, 2007) (dismissing negligence per se claim based

                                                                                          25   on violations of the Americans with Disabilities Act); Colquhoun v. BHC Montevista Hospital,

                                                                                          26   Inc., 2010 U.S. Dist. LEXIS 57066 (D. Nev. June 9, 2010) (dismissing negligent hiring,

                                                                                          27   supervision and training claim based on alleged discrimination, stating “the fact that an employee

                                                                                          28   acts wrongfully does not in and of itself give rise to a claim for negligent hiring, training or


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                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-4 Filed 11/06/20 Page 12 of 16




                                                                                           1   supervision”); Jackson v. Universal Health Servs., Inc. 2014 WL 4635873, at *3-4 (D. Nev. Sept.

                                                                                           2   15, 2014) (dismissing negligent training and supervision claim because it was premised on

                                                                                           3   allegations of her employer’s allegedly illegal racially discriminatory practices). In Birkman v.

                                                                                           4   Harrah’s Operating Co., Inc., 2008 U.S. Dist. LEXIS 123992 *4-8 (D. Nev. Oct. 16 2008), the

                                                                                           5   Court dismissed the plaintiff’s negligent supervision claim and explicitly recognized that “NRS §

                                                                                           6   613.330 provides the exclusive remedy for tort claims premised on illegal employment practices.

                                                                                           7   The Nevada Supreme Court, as well as the District Court for the District of Nevada, have held that

                                                                                           8   tort claims premised on discrimination in employment are remedied under the statute.” Id.

                                                                                           9           Here, Plaintiff’s causes of action for gross negligence and for negligent hiring and

                                                                                          10   retention are premised upon alleged discrimination and harassment for which comprehensive
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                                                                                          11   statutory remedies exist under NRS 613.330 and Title VII. Plaintiff claims that TopGolf had a

                                                                                          12   duty to keep “its employees free from harassment.” (Compl. ¶ 58.) She further claims that
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                                                                                          13   TopGolf “knew or should have known that Hinojosa’s conduct was against company policy and in
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                                                                                               violation of applicable law.” (Compl. ¶ 64.) On their face, Plaintiff’s negligence claims present as
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                                                                                          15   statutory employment discrimination claims. Of course, to pursue those claims, Plaintiff needed to

                                                                                          16   have timely filed a charge of discrimination.

                                                                                          17          In passing the Nevada antidiscrimination statutes, the Nevada “legislature intended that

                                                                                          18   claims involving employment discrimination were to be administratively exhausted prior to

                                                                                          19   seeking redress in the district courts.” Palmer v. State Gaming Control Board, 106 Nev. 151, 153,

                                                                                          20   787 P.2d 803, 805 (1990). An employee claiming discrimination or harassment under NRS

                                                                                          21   613.310 et seq. is obligated to file a claim with the Nevada Equal Rights Commission and to have

                                                                                          22   that agency adjudicate the claim before it can properly be brought in district court. Id.; see also

                                                                                          23   Copeland v. Desert Inn Hotel, 99 Nev. 823, 673 P.2d 490 (1983). The charge of discrimination

                                                                                          24   must be filed within 300 days of the alleged discriminatory or retaliatory act. See NRS 613.430;

                                                                                          25   42 U.S.C. § 2000e-5(e)(1); see also Pope v. Motel 6, 114 P.3d 277 (Nev. 2005) (requiring timely

                                                                                          26   exhaustion of administrative remedies through NERC”).

                                                                                          27          Plaintiff failed to timely exhaust her administrative remedies, thus preventing her from

                                                                                          28   pleading proper employment discrimination claims. But, as a matter of law, Plaintiff is prevented


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                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-4 Filed 11/06/20 Page 13 of 16




                                                                                           1   from pursuing her time-barred employment discrimination claims now shrouded in the cloak of

                                                                                           2   tort, compelling dismissal. For this and the other reasons outlined above, Plaintiff's claim for gross

                                                                                           3   negligence and negligent hiring and retention should be dismissed.

                                                                                           4          D.      Plaintiff’s Claim For Punitive Damages Should Be Dismissed Against TopGolf

                                                                                           5          Plaintiff’s Amended Complaint contains no allegations of fraud, oppression, or malice on

                                                                                           6   the part of TopGolf to support a punitive damages claim. In Nevada, a plaintiff who seeks to

                                                                                           7   recover punitive damages must establish, by clear and convincing evidence, that the defendant is

                                                                                           8   guilty of fraud, oppression, or malice. NRS 42.005 provides in relevant part:

                                                                                           9          1. Except as otherwise provided in NRS 42.007, in an action for the breach of an
                                                                                                      obligation not arising from contract, where it is proven by clear and convincing
                                                                                          10          evidence that the defendant has been guilty of oppression, fraud or malice, express
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                                                                                                      or implied, the plaintiff, in addition to the compensatory damages, may recover
                                                                                          11
                                                                                                      damages for the sake of example and by way of punishing the defendant. (emphasis
                                                                                          12          added).
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                                                                                          13   “Oppression” as used in NRS 42.005, means “despicable conduct that subjects a person to cruel
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                                                                                               and unjust hardship with conscious disregard of the rights of the person.” See NRS 42.0001(4)
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                                                                                          15   (emphasis added). “‘Malice, express or implied,’ means conduct which is intended to injure a

                                                                                          16   person or despicable conduct which is engaged in with a conscious disregard of the rights or
                                                                                          17   safety of others.” Wyeth v. Rowatt, 244 P.2d 765 (2010), citing NRS 42.001(3) (emphasis added).

                                                                                          18   A defendant has a “[c]onscious disregard” of a person’s rights and safety when he or she knows of

                                                                                          19   “the probable harmful consequences of a wrongful act and a willful and deliberate failure to act to

                                                                                          20   avoid those consequences.” Id., citing NRS 42.001(1). Conscious disregard “plainly requires

                                                                                          21   evidence that a defendant acted with a culpable state of mind….” Kennedy v. Carriage Cemetery

                                                                                          22   Services, Inc., 727 F. Supp.2d 925, 936 (D. Nev. July 19, 2010).

                                                                                          23          Furthermore, there is a heightened standard for obtaining punitive damages against a

                                                                                          24   corporation. NRS 42.007 provides that “a corporate employer is not liable for exemplary damages

                                                                                          25   for the wrongful act of an employee unless:

                                                                                          26          (a) The employer had advance knowledge that the employee was unfit for the
                                                                                                      purposes of the employment and employed him with a conscious disregard of the
                                                                                          27          rights and safety of others;

                                                                                          28          (b) The employer expressly authorized or ratified the wrongful act of the employee
                                                                                                      for which the damages are awarded; or

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                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-4 Filed 11/06/20 Page 14 of 16




                                                                                           1
                                                                                                      (c) The employer is personally guilty of oppression, fraud, or malice.
                                                                                           2
                                                                                                      If the employer is a corporation, the employer is not liable for exemplary or punitive
                                                                                           3          damages unless the elements of paragraph (a), (b), or (c) are met by an officer,
                                                                                                      director or managing agent of the corporation who was expressly authorized to
                                                                                           4          direct or ratify the employee’s conduct on behalf of the corporation.” (emphasis
                                                                                                      added).
                                                                                           5

                                                                                           6          The Nevada Supreme Court discussed the reasoning and basis of punitive damages in

                                                                                           7   Bongiovi v. Sullivan, 138 P.3d 433 (2006). According to the Bongiovi court, the philosophical

                                                                                           8   basis of punitive damages is that:

                                                                                           9          Punitive damages provide a means by which the community can express
                                                                                                      community outrage or distaste for the misconduct of an oppressive, fraudulent or
                                                                                          10          malicious defendant and by which others may be deterred and warned that such
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                                                                                                      conduct will not be tolerated.
                                                                                          11          ...
                                                                                                      “‘Oppression means despicable conduct that subjects a person to cruel and unjust
                                                                                          12          hardship with conscious disregard of the rights of the person.” NRS 42.001(4).
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                                                                                                      ‘Fraud means an intentional misrepresentation, deception or concealment of a
                                                                                          13          material fact known to the person with the intent to deprive another person of his
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                                                                                                      rights or property or to otherwise injure another person.” NRS 42.001(2).”
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                                                                                          14          ‘[E]xpress malice is conduct which is intended to injure a person; implied malice is
                                                                                                      despicable conduct which is engaged in with a conscious disregard of the rights ...
                                                                                          15          of others.’” Clark v. Lubritz, 113 Nev. 1089, 1099, 944 P.2d 861, 867 (1997)
                                                                                                      (emphasis added) (quoting NRS 42.001(3)).
                                                                                          16

                                                                                          17   See Bongiovi v. Sullivan, 138 P.3d at 451 (emphasis added). In other words, under NRS 42.001(1),

                                                                                          18   to justify punitive damages, the defendant’s conduct must have exceeded “mere recklessness or

                                                                                          19   gross negligence.”    See also Wyeth, 244 P.3d at 765, citing Countrywide Home Loans v.

                                                                                          20   Thitchener, 124 Nev. 725, 742-43, 192 P.3d 243, 254-55 (2008) (emphasis added).

                                                                                          21          Although Plaintiff’s Amended Complaint includes the “magic words” of “oppression, fraud

                                                                                          22   or malice,” they do not set forth any factual averments that would support such allegations. As

                                                                                          23   stated above, it is axiomatic that an allegation consisting of conclusory verbiage, i.e., merely

                                                                                          24   naming a legal element of a claim, is insufficient to survive a motion to dismiss. See Buzz Stew v.

                                                                                          25   City of N. Las Vegas, 124 Nev. 224, 181 P.3d 670 (2008). Yet, Plaintiff does not state with

                                                                                          26   specificity the acts or omissions on the part of TopGolf, the basis for her request for punitive

                                                                                          27   damages.

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                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-4 Filed 11/06/20 Page 15 of 16




                                                                                           1          It is anticipated that Plaintiff will oppose this Motion by reminding the Court that Nevada is

                                                                                           2   a notice pleading jurisdiction. TopGolf does not dispute this fact, however, given the nature of

                                                                                           3   punitive damages (to punish or make an example of) and the very limited circumstances under

                                                                                           4   which a corporate entity may be held liable for them per NRS 42.007, Plaintiff must plead

                                                                                           5   sufficient facts to support her claim for punitive damages. TopGolf has a right to be placed on

                                                                                           6   notice of Plaintiff’s claims. Therefore, it has a right to be provided with specific facts that Plaintiff

                                                                                           7   alleges support her claim for punitive damages.          Without this information, Plaintiff has not

                                                                                           8   sufficiently notified TopGolf of her claim, even in a notice pleading state. Therefore, Plaintiff’s

                                                                                           9   claims for punitive damages must be dismissed entirely.

                                                                                          10   V.     CONCLUSION
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                                                                                          11          Based upon the foregoing, TopGolf respectfully requests that the Court grant its Motion to

                                                                                          12   Dismiss, and dismiss all of Plaintiff’s claims against it.
                                                 Suite 1500, 3800 Howard Hughes Parkway




                                                                                          13          DATED this 28th day of March, 2019.
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                                                                                          14                                          OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
                                                                                          15
                                                                                                                                       /s/ Suzanne L. Martin
                                                                                          16                                          Suzanne L. Martin
                                                                                                                                      Nevada Bar No. 8833
                                                                                          17
                                                                                                                                      Erica J. Chee
                                                                                          18                                          Nevada Bar No. 12238
                                                                                                                                      3800 Howard Hughes Parkway
                                                                                          19                                          Suite 1500
                                                                                                                                      Las Vegas, NV 89169
                                                                                          20                                          Attorneys for Defendant TopGolf USA Las Vegas, LLC
                                                                                          21

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                                                                                           1                                     CERTIFICATE OF SERVICE

                                                                                           2          I hereby certify that, pursuant to NEFCR 9(a), I electronically transmitted the foregoing

                                                                                           3   DEFENDANT TOPGOLF USA LAS VEGAS, LLC’S MOTION TO DISMISS PLAINTIFF’S

                                                                                           4   AMENDED COMPLAINT to the Clerk’s Office using the electronic filing process for the Eighth

                                                                                           5   Judicial District Court to the following registrant:

                                                                                           6          James Lee
                                                                                                      Thomas D. Boley
                                                                                           7

                                                                                           8          Pursuant to Nevada Rule of Civil Procedure 5(b), I hereby further certify that service of the

                                                                                           9   foregoing DEFENDANT TOPGOLF USA LAS VEGAS, LLC’S MOTION TO DISMISS

                                                                                          10   PLAINTIFF’S AMENDED COMPLAINT was also made by depositing a true and correct copy
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                                                                                          11   of same for mailing, first class mail, postage prepaid thereon, at Las Vegas, Nevada, to the

                                                                                          12   following:
                                                 Suite 1500, 3800 Howard Hughes Parkway




                                                                                          13   James Lee, Esq.                                        Thomas D. Boley
                                                                                               Kettner Law                                            Boley & Aldabbagh
                                                         Telephone: 702.369.6800
                                                           Las Vegas, NV 89169
                                                            Wells Fargo Tower




                                                                                          14   2150 W. Washington Street, 402                         1900 E. Bonanza Rd.
                                                                                               San Diego, CA 92110                                    Las Vegas, NV 89101
                                                                                          15
                                                                                               Attorneys for Plaintiff                                Attorneys for Defendant Silvino Hinojosa
                                                                                          16

                                                                                          17
                                                                                                      Dated this 28th day of March, 2019.
                                                                                          18
                                                                                                                                                      /s/ Brittany Manning
                                                                                          19                                                          An Employee of Ogletree, Deakins, Nash,
                                                                                                                                                      Smoak & Stewart, P.C.
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